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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF PUERTO RICO

                                   CASE NO.: 3:17-cv-02273


CAPITAL UNION BANK LTD., a Bahamian
corporation,

Plaintiff,

v.

BANCRÉDITO INTERNATIONAL BANK
CORPORATION, a Puerto Rican corporation,

Defendant.
                                                  /

                   NOTICE OF VOLUNTARY DIMISSAL WITH PREJUDICE
                        OF ALL CLAIMS AGAINST DEFENDANT

        Plaintiff, Capital Union Bank, Ltd., pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules

of Civil Procedure, hereby files this Notice of Dismissal With Prejudice of all claims against the

Defendant Bancrédito International Bank Corporation.

Dated: November 21, 2017.

                                                      Respectfully Submitted

                                                      BERKAN/MENDEZ
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                                                      By:__ Judith Berkan____________
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                                                      AND




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                                                  By: /s/ Michael A. Sayre______
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                                                         Fla. Bar No. 618624
                                                         Michael A. Sayre, Esq.
                                                         Fla. Bar. No. 17607

                                                  Attorneys for Capital Union Bank, Ltd.


                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 21, 2017, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

filing to all parties of record.


                                                  _/s/ Judith Berkan__
                                                   Judith Berkan, Esq.




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